                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                            )
                                                     )      Case No. 1:09-cr-123-007
 v.                                                  )
                                                     )      Judge McDonough/Steger
 DONNA JANE BIBLE                                    )
                                                     )

                                MEMORANDUM AND ORDER

         DONNA JANE BIBLE (“Defendant”) came before the Court for an initial appearance on
 March 7, 2017, in accordance with Rule 32.1 of the Federal Rules of Criminal Procedure on the
 Petition for Warrant for Offender under Supervision (“Petition”).

         After being sworn in due form of law, Defendant was informed of her privilege against
 self-incrimination under the 5th Amendment and her right to counsel under the 6th Amendment
 to the United States Constitution.

         The Court determined Defendant wished to be represented by an attorney and that she
 qualified for the appointment of an attorney to represent her at government expense.
 Consequently, the Court APPOINTED Myrlene Marsa of Federal Defender Services of Eastern
 Tennessee, Inc. to represent Defendant.

        Defendant was furnished with a copy of the Petition, and had an opportunity to review
 that document with her attorney. The Court determined that Defendant was able to read and
 understand the Petition with the assistance of her counsel. In addition, AUSA Jay Woods
 explained to Defendant the specific charges contained in the Petition. Defendant acknowledged
 she understood the charges in the Petition.

         The Government moved Defendant be detained pending disposition of the Petition or
 further Order of this Court. The Court explained Defendant’s right to a preliminary hearing and
 detention hearing and what those hearings entail. Defendant conferred with her counsel and
 waived the preliminary hearing and detention hearing.

         The Court finds that probable cause exists to demonstrate that Defendant has committed
 violations of her conditions of supervised release, and that Defendant has not carried the burden
 of establishing by clear and convincing evidence that she will not flee or pose a danger to any
 other person or to the community. Consequently, the Court GRANTED the Government’s oral
 motion to detain Defendant pending disposition of the Petition or further Order of this Court.

        It is, therefore, ORDERED that:

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         1. Counsel for Defendant and the Government shall confer and make best
            efforts to submit to United States District Judge McDonough a proposed
            Agreed Order with respect to an appropriate disposition of the Petition for
            Warrant for Offender Under Supervision.

         2. In the event counsel are unable to reach agreement with respect to an
            appropriate disposition of the Petition for Warrant for Offender under
            Supervision, they shall request a hearing before United States District
            Judge McDonough.

         3. The government’s motion that Defendant be DETAINED WITHOUT
            BAIL pending further Order of this Court is GRANTED.

       ENTER.

                                          s/Christopher H. Steger
                                          United States Magistrate Judge




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